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                                          August 5, 2016


Third Judicial District Court
201 W. Picacho Ave.
Las Cruces, NM 88005
Attn: Civil Division


Re:            Rodriguez v. Las Cruces Medical Center, LLC et al
               Our Case # CV 16-489 WJ/GBW; your Case # CV 15-2506

To Whom it May Concern,

        Please find enclosed a certified copy of the Memorandum Opinion and Order signed by
United States District Judge William P. Johnson, remanding this case to your court. The original
case file and a certified copy of the docket sheet are enclosed.

       Please acknowledge receipt of these records by returning a copy of this letter to this office.



                                                             Sincerely,

                                                             MATTHEW J. DYKMAN, CLERK

                                                             By:____________________
                                                                   Deputy Clerk




enclosures
cc: counsel of record/file
